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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


 STERLING SUFFOLK RACECOURSE, LLC,

                              Plaintiff,

 v.                                                    CIVIL ACTION
                                                       Case No. 1:18-cv-11963-PBS
 WYNN RESORTS, LTD; WYNN MA, LLC;
 STEPHEN WYNN; KIMMARIE SINATRA;
 MATTHEW MADDOX; and FBT EVERETT
 REALTY, LLC,

                              Defendants.


         MEMORANDUM OF LAW IN SUPPORT OF MATTHEW MADDOX’S
           MOTION TO DISMISS THE FIRST AMENDED COMPLAINT

       As amply demonstrated by each of the co-defendant’s motions to dismiss, plaintiff

Suffolk Racecourse, LLC’s (“SSR’s”) amended RICO claims are fatally deficient as to all

defendants, Moreover, SSR’s amended complaint fails to allege with anything close to the

required specificity that defendant Matthew Maddox personally committed a single RICO

predicate act. SSR seeks to mask its failure by pointing to Mr. Maddox’s corporate positions at

Wynn Resorts and Wynn MA, LLC, noting that he “remains employed and indeed has been

promoted” in the wake of Stephen Wynn’s departure, and since then “has in effect become the

face of the ‘new’ Wynn Resorts.” First Amended Complaint (“FAC”) at ¶ 10. Mr. Maddox did

indeed become Chairman of Wynn Resorts in 2018, id. at ¶ 20, but that was over three years

after the Massachusetts Gaming Commission awarded a gaming license to Wynn MA, LLC

through what SSR alleges was a scheme to defraud. Id. at ¶ 120. And while SSR broadly

accuses certain co-defendants and “[o]ver half a dozen other senior members of Wynn Resorts




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management” of participating in a “pattern of concealment,” SSR also acknowledges that Mr.

Maddox is not among them. FAC ¶10.

       By his Motion to Dismiss, Mr. Maddox respectfully submits that his alleged status as the

“new face” of Wynn Resorts – which SSR couples only with impermissibly collective,

conclusory and substantively deficient allegations of RICO predicate acts – cannot state a viable

claim against him individually. In support of that Motion, Mr. Maddox adopts by reference the

grounds set out in the memoranda in support of each of his co-defendants’ motions to dismiss,

which demonstrate that all of SSR’s claims fail as against all defendants. In addition, as set out

in this Memorandum, Mr. Maddox submits that SSR’s three RICO claims also must be dismissed

with prejudice with respect to him specifically because SSR, even after amendment, has failed to

particularize his alleged role in any act of racketeering as required by Federal Rule 9(b) and 18

USC § 1961(1).

                        SUMMARY OF THE RICO ALLEGATIONS

       Mr. Maddox respectfully refers this Court to the “Summary of the RICO Allegations”

contained in the Memorandum of Wynn Resorts, Limited and Wynn MA, LLC in Support of

Their Motion to Dismiss at pp. 3-7. Any additional allegations regarding Mr. Maddox are

addressed in the Argument below.

                                          ARGUMENT

       A.      SSR Fails to Particularize Any Participation by Mr. Maddox in Any
               Predicate Acts in Violation of RICO

       The alleged racketeering activity at the center of SSR’s three deficient RICO claims is

Wynn Resorts’ allegedly fraudulent failure to disclose to the Massachusetts Gaming Commission

(“MGC”) the alleged prior ownership of the casino site by convicted felons, Mr. Wynn’s alleged

prior acts of sexual predation, and alleged prior payments to government officials in connection

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with the Wynn casino in Macau. FAC ¶ 155, 161. None of that alleged concealment, as alleged

or as a matter of law, constitutes either an actionable predicate act or an element of a viable

RICO “pattern.” See Memorandum of Law in Support of Wynn Resorts, Ltd and Wynn MA,

LLC’s Motion to Dismiss the First Amended Complaint at pp. 9-14. Moreover, as they apply to

Mr. Maddox individually, SSR’s allegations must be held to the heightened pleading standard set

out in Federal Rule 9(b), which requires that a complaint “state with particularity the

circumstances constituting fraud or mistake.” See Fleet Credit Corp. v. Sion, 893 F.2d 441, 444-

445 (1st Cir. 1990); New England Data Servs., Inc v. Becher, 829 F.2d 286, 289 (1st Cir. 1987).

As this Court has recognized, the Rule’s requirements demand that a plaintiff specify “the time,

place, and content of each alleged false representation.” Laker v. Freid, 854 F.Supp. 923, 931

(D. Mass. 1994) (emphasis in original) (citing Bio-Vita, Ltd. v. Rausch, 759 F.Supp. 33, 37 (D.

Mass. 1991)).

       Courts in this circuit uniformly have held that Rule 9 (b)’s specificity requirements for

each alleged false representation preclude grouping individual defendants together into

generalized claims. As a consequence, plaintiffs cannot “lump[] all the defendants together as a

unitary force.” Jones v. Experian Info. Sols., Inc., 141 F. Supp. 3d 159, 162 (D. Mass. 2015).

(emphasis added) Instead, “where there are multiple defendants, the specific role of each must

be alleged.” Rick v. Profit Mgmt. Assocs., Inc., 241 F. Supp. 3d 215, 224 (D. Mass. 2017)

(emphasis added); Ezell v. Lexington Ins. Co., 286 F.Supp.3d 292, 300 (D.Mass. 2017)

(dismissing claim for fraudulent misrepresentations where “plaintiffs continue to refer

collectively to ‘AIG’ and ‘defendants’ and do not specify which party made representations or

owed a duty to disclose.”). And where corporate action is alleged, the complaint must

particularize “some showing of direct personal involvement by the [defendant] corporate officer



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in some decision or action which is causally related to plaintiff’s injury.” Escude Cruz v. Ortho

Pharm. Corp., 619 F.2d 902, 907 (1st Cir. 1980). In its baseless effort to implicate Mr. Maddox,

SSR’s complaint, even as amended, falls short of each of these requirements.

         1. SSR”s “Lumped” Allegations Specify No Culpable Acts or Knowledge of Mr.
            Maddox Individually

         In fully 100 of its 191 paragraphs, including every paragraph purporting to set out alleged

acts of racketeering, SSR broadly ascribes conduct or attributes knowledge only to three

collections of alleged actors: (1) all six of the defendants1; (2) the five “Wynn Defendants,”

comprised of, Wynn Resorts Ltd., (“Wynn Resorts”), three of its executives, and its wholly-

owned subsidiary, Wynn MA, LLC2; or (3) the “Wynn Control Defendants,” comprised of the

same three executives plus Wynn Resorts.3 Such impermissible “lumping” violates Rule 9(b)

because it fails to particularize the alleged acts of any one of the individual defendants, Jones,

141 F. Supp. 3d at 162. This deficiency is particularly glaring as to Mr. Maddox in light of the

very limited role which SSR, even on amendment, imputes to him.

         During the entire period of alleged fraud on the MGC, SSR alleges that Mr. Maddox

served as President and CFO of Wynn Resorts, but also emphasizes that, during that same

period, it was Mr. Maddox’s superior, Mr. Wynn, who, as CEO of both Wynn Resorts and Wynn

Macau, Ltd., “did not delegate the pursuit of the Gaming License in Massachusetts to

subordinates but played an active and hand[s-]on role throughout the process . . . making

knowingly false statements both orally and in writing to the Gaming Commission . . ..” FAC


1
  The FAC alleges that “the Defendants” acted together in paragraphs 1, 8, 9, 12, 76, 90, 92, 93, 94, 101, 104, 115,
116, 120, 141, 142, 154, 155, 156, 164, 168, 171, 172, 173, and 189.
2
  The FAC alleges that “the Wynn Defendants” acted together in paragraphs 6, 7, 8, 9, 10, 11, 22, 30, 31, 36, 39, 43,
46, 52, 53, 55, 56, 58, 67, 78, 80, 81, 82, 83, 84, 86, 87, 88, 89, 90, 91, 93, 95, 97, 99, 101, 102, 105, 107, 108, 110,
111, 112, 114, 115, 116, 117, 118, 119, 120, 121, 122, 123, 124, 127, 129, 132, 134, 136, 137, 138, 140, 143, 145,
146, 150, 151, 155, 171, 174, 178, 179, 180, 181, 182, 183, 186, 187, 188, 190, and 191.
3
  The FAC alleges that the “Wynn Control Defendants” acted together in paragraphs 159, 161, 162, 167, and 171,
and that “Maddox, Sinatra and Steve Wynn” collaborated in ¶91.

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¶19. Similarly SSR alleges that, as General Counsel of Wynn Resorts during the entire relevant

period, “Kimmarie Sinatra . . . was functionally the second most senior member of the Wynn

Resorts management team after Steve Wynn himself.” FAC ¶21. Finally, while SSR also

alleges that Mr. Maddox served as President and Treasurer of Wynn MA, LLC, id., it again

concedes that, during his presidency, Mr. Maddox played no role in the purported decisions to

engage in criminal conduct. As SSR portrays it:

                Wynn MA …had no autonomous management team of its own
                [which was] given decision-making discretion. Rather, all
                significant decisions of Wynn MA, including without limitation its
                decision to engage in the criminal and/or tortious acts set forth
                herein, were made for it by Wynn Resorts and Wynn Resorts’ own
                senior management team, including the individual defendants
                herein.

Id. ¶ 18. Thus, even within its unspecified “lumps” of Wynn-related defendants, SSR alleges a

hierarchy in which Mr. Wynn and Ms. Sinatra were the purported actors, while Mr. Maddox,

served primarily as part of a subordinate “team” vested with “no autonom[y]” and no “decision-

making discretion.” FAC ¶ 18.

        Three examples illustrate the misleading consequence of SSR’s inclusion of Mr. Maddox

in the casts of its salacious subplots:

        First, the FAC exploits both Mr. Wynn’s alleged sexual misconduct and its alleged cover-

up by “numerous other senior members of the Wynn Resorts management team.” FAC ¶36.

Again, these allegations are neither alleged to be – nor could they as a matter of law constitute –

part of a viable “pattern of racketeering activity.” See Memorandum of Law in Support of Wynn

Resorts, Ltd and Wynn MA, LLC’s Motion to Dismiss the First Amended Complaint at pp. 9-14.

But as important for the purposes of the instant motion, in the single instance in which SSR




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specifies which executives allegedly even knew of this alleged misconduct, three are accused by

name and Mr. Maddox tellingly is left off the list. Id. ¶36.

         Second, the FAC devotes six pages to “The Wynn Defendants’ Prior Misconduct in

Macau,” reaching back to 2002, when a Wynn Resorts’ subsidiary agreed to operate a casino in

Macau. Id. ¶s 39-52. SSR begins by again invoking Mr. Maddox’s corporation position, as CFO

of that Macau subsidiary, and then alleges that, in that job, Mr. Maddox was “extensively

involved in the purchase of the rights to the [casino] property and in the development and

construction effort for the Wynn Macau [casino].” Id. at ¶ 41. Nowhere in the six pages that

follow, however, does SSR ever ascribe a single allegedly illegal – or even improper – act

specifically to Mr. Maddox, id. at ¶s 42-52, nor does it so specify when its purported RICO

claims make a singular, conclusory reference to “the Wynn MA Control Defendants’ unsavory

activities and organized-crime affiliations in Macau… .” Id. at ¶ 161(c).

         Third, SSR trumpets that Wynn Resorts has now allegedly “publicly conceded” that Mr.

Wynn and “numerous other senior members of the Wynn Resorts management team” committed

“an on-going and long-running pattern of violations of Nevada’s suitability regulations….” FAC

¶s 36, 37-38, 161(d). Again, these alleged “violations” in Nevada cannot rescue SSR’s deficient

allegations of a RICO “pattern” in Massachusetts, but with specific regard to Mr. Maddox, it

must be noted that, in the “public concession” to which SSR refers, Wynn Resorts admitted to

allegations by the Nevada Gaming Control Board which implicated by name eight such Wynn

Resorts executives but never alleged any acts by Mr. Maddox.4 Moreover, only one paragraph of


4
 See Nevada Gaming Control Board v. Wynn Las Vegas, LLC dba Wynn Las Vegas; Wynn Resorts, Limited (PTC),
NGC 18-15, Complaint, attached as Exhibit 1, at ¶ 15, 16, 17, 23, 40, 48, 56, 64, 71, 100, 101, 102 (alleging claims
against Stephen Wynn); ¶ 38, 39, 49, 50 (alleging claims against Mark Schorr); ¶ 38, 39 (alleging claims against
Doreen Whennen); ¶ 38, 39, 49, 50, 79 (alleging claims against Arte Nathan); ¶ 41, 72 (alleging claims against
Kimmarie Sinatra); ¶ 49, 50, 57, 58, 84, 85 (alleging claims against Kevin Tourek); ¶57, 58 (alleging claims against
Maurice Wooden); ¶73 (alleging claims against Stacie Michaels); Nevada Gaming Control Board v. Wynn Las
Vegas, LLC dba Wynn Las Vegas; Wynn Resorts, Limited (PTC), NGC 18-15, Stipulation for Settlement and Order,

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the Nevada Control Board’s Commission’s complaint arguably could even include Mr. Maddox

among the unnamed “executives” who allegedly learned of certain acts “performed on [Mr.

Wynn] in 2014.” Id. at ¶ 66 (emphasis added). Yet even if this (false) allegation is assumed as

true at the Rule 12(b)(6) stage, Mr. Maddox allegedly could have learned of those acts only after

defendants’ alleged fraud had yielded – in December 2013 – the Massachusetts Gaming

Commission’s decision on the suitability of Mr. Wynn, Wynn MA, LLC and Wynn Resorts. Id.

at ¶ 134.

        2. SSR Fails to Allege Acts By Maddox Which Constitute Racketeering

        Even in the dozen paragraphs in which SSR does individually identify Mr. Maddox,

SSR’s allegations fall short of Rule 9(b)’s demands that his alleged roles and the time, place and

context of his allegedly fraudulent statements be particularized. These paragraphs and their

respective deficiencies are:

        (1) Paragraph 20:

                 Matthew or ‘Matt’ Maddox (‘Maddox’) is a resident of Nevada,
                 has been the President and Chief Financial Officer of Wynn
                 Resorts since 2013, and became the Chairman in 2018 after
                 Wynn’s resignation. At relevant times, Maddox was also President
                 and Treasurer of Wynn MA and intimately involved in the pursuit
                 of the Gaming License, including by making knowingly false
                 statements both orally and in writing to the Gaming Commission.
                 Before Wynn MA was formed to pursue the Gaming License in
                 Massachusetts, Maddox was intimately involved in Wynn Resorts’
                 Macau operations and became fully familiar with (indeed,
                 complicit in) its shady dealings with organized crime figures in
                 that jurisdiction. Maddox served as a non-executive director at
                 Wynn Macau, Ltd. from March 2013 until his appointment as CEO
                 of Wynn Macau, Ltd. in February 2018, when he assumed a role as
                 an executive director. From March 2003 to June 2005, Maddox
                 served as Chief Financial Officer of Wynn Macau, Ltd.’s wholly-
                 owned subsidiary Wynn Resorts (Macau), S.A. (‘Wynn Macau
                 SA’), which owns and operates two casinos in Macau.

attached as Exhibit 2, at ¶1 (admitting all of the allegations in the Nevada Gaming Control Board’s complaint except
for ¶72-73 and the portion of ¶ 57 that states that Maurice Wooden knew of the allegations of sexual misconduct).

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Beyond this allegation’s identification of Mr. Maddox’s corporate position, it claims only that,

sometime between 2003 and 2005, he “became fully familiar with (indeed, complicit in) its

[Wynn Resorts’] shady dealings with organized crime figures” in Macau. SSR specifies nothing

about, for example, which “shady figures” Mr. Maddox allegedly knew, what “dealings” he

allegedly participated in, or how he became “complicit” in those dealings.

        (2) Paragraph 41:

               In August 2009, Wynn Resorts’ indirect subsidiary, Wynn Macau
               SA, paid approximately $18 million to an unrelated third-party
               Macau company, Nam Van Development Company (“Nam Van”),
               for its relinquishment of rights to a portion of the land acquired in
               connection with the expansion of the Wynn Macau. Maddox
               served as Chief Financial Officer of Wynn Macau SA at the time
               the agreement to purchase the land rights from Nam Van was
               executed and was extensively involved in the purchase of the rights
               to the property and in the development and construction efforts for
               the Wynn Macau. Nam Van was founded in 1990 by a consortium
               of local businessmen with wide ranging political power as well as
               checkered backgrounds.

This allegation, too, merely states that Mr. Maddox had a position as an officer in a company that

in 2009 purchased certain building rights from a Chinese company. SSR never alleges that

anything about the purchase was fraudulent. At most, this paragraph accuses certain founders of

Nam Van of having had “checkered backgrounds.” There is no allegation that Mr. Maddox

knew of these purportedly “checkered backgrounds,” nor any allegation that any of these

founders were involved in criminal activity, or even had anything to do with Nam Van, by the

time of the transaction in which Mr. Maddox allegedly participated.

       (3) Paragraph 81:

               During the first official meeting between FBT and representatives
               of the Wynn Defendants at the Everett Site in November 2012,
               DeNunzio, on behalf of FBT, informed Sinatra and Maddox that
               ‘an individual with a checkered past’ (apparently Lightbody, a

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               convicted felon) was then an owner of FBT but was allegedly
               taking steps to give up his interest.

Even indulged as true, the allegation that Mr. Maddox heard that an “individual with a checkered

past” had an ownership interest in FBT falls far short of alleging that Mr. Maddox knew that

there was anything about this owner that would disqualify FBT from being found suitable by the

Commission. Moreover, even if this paragraph were sufficient to allege that Mr. Maddox knew

that an owner of FBT was a criminal, the paragraph does not identify any concealment by Mr.

Maddox in the face of a legal obligation to disclose. See In re Lupron Mktg. & Sales Practices

Litig., 295 F.Supp.2d 148, 165-166 (D.Mass. 2003) (dismissing RICO claim based on fraud

allegedly fraudulent failure to disclose where plaintiff failed to sufficiently plead defendant’s

duty to disclose).

       (4) Paragraph 87:

               Sinatra and the Wynn Defendants have claimed to have taken no
               steps to look further into the ownership history of the Everett Site
               after the ownership interest of ex-felon DeCicco was publicized,
               nor to question when DeCicco had transferred his interest, or to
               whom he transferred it, despite the requirements of the Gaming
               Act that any applicant disclose in its application the ownership
               history of a gambling site for the past twenty years. . . Sinatra was
               a seasoned gaming attorney overseeing the Wynn Defendants’ due
               diligence before omitting to the Everett Site; she and Maddox were
               not neophytes.

The passing characterization of Mr. Maddox as no “neophyte” apparently is intended to imply

guilty knowledge, but none is actually alleged, nor would there be any basis to do so. Instead,

SSR claims that it was Ms. Sinatra – not Mr. Maddox – who was overseeing the “due diligence”

that impliedly would have given rise to such knowledge. Laker, 854 F.Supp. at 931 (“A

complaint is inadequate if it makes merely a general averment of the defendant’s ‘knowledge’ of

material falsity, unless the complaint also sets forth specific facts that make it reasonable to



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believe that the defendant knew that a statement was materially false or misleading.”) (internal

quotations and citations omitted). There is no allegation that Mr. Maddox actually knew that any

other of the FBT owners had criminal backgrounds, nor any allegation that Mr. Maddox

represented to the MGC anything false about those backgrounds.

       (5) Paragraph 88:

               [N]o later than November or December 2012, the Wynn
               Defendants and FBT entered into a mutual understanding that FBT
               would create whatever false and backdated paperwork might be
               necessary for purposes of the Wynn Defendants’ application, in
               order to make the ownership of the Everett Site appear less tainted
               than it actually was. . . Maddox and Sinatra consulted directly with
               Steve Wynn before making this deal with FBT.

While SSR alleges only that one or both of Mr. Maddox and Ms. Sinatra “consulted” with Mr.

Wynn about a prospective “deal,” it never specifies which of them allegedly did so, or which of

the “Wynn Defendants” actually entered into the alleged “mutual understanding” with FBT.

Beyond its impermissible “lumping” of two defendants’ alleged roles, this type of conclusional

implication that a defendant “agreed to commit fraud” is not sufficient to satisfy Rule 9(b)’s

stringent standard. See Fleet Credit Corp., 893 F.2d at 444 (alleging numerous acts of mail

fraud “including but not limited to” certain examples is not specific enough to allow the

defendant an opportunity to defend against the allegations); Loan v. Fed. Deposit Ins. Corp., 717

F.Supp. 964, 968 (D. Mass. 1989) (claims that “defendants caused [a fraudulent document] to be

prepared and circulated” without specifying that a defendant “actually prepared, signed or even

read the document” did not satisfy Rule 9(b)).

       (6) Paragraph 89:

               Sinatra and Maddox on behalf of themselves and the other Wynn
               Defendants traveled in interstate commerce from Nevada to
               Massachusetts in furtherance of this unlawful agreement to create



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               false documentation for the purpose of defrauding the Gaming
               Commission and/or its unconflicted commissioners.

Here again, a broad allegation that Mr. Maddox at some point traveled across some state lines “in

furtherance of this unlawful agreement to create false documentation” provides none of the time,

place or content specification which a plaintiff must provide to allow a RICO defendant fairly to

defend against it. Laker, 854 F.Supp. at 930-931.

        (7-11) Paragraphs 100, 102, 105, 106 and 107:

               [I]n July 2013 interviews with the Gaming Commission’s IEB,
               taken under oath, both Sinatra and Maddox falsely claimed to have
               never heard of Lightbody and to have no idea who he was, and
               likewise claimed to have been unaware of any additional, unnamed
               owners of FBT other than Lohnes, DeNunzio, and perhaps
               Gattineri… when asked directly whether ‘it was important to you
               at that time to know whether a person with a criminal background
               was involved in the deal,’ Maddox asserted in reply: “Not my job.”
               ¶100.

               Maddox and Sinatra had primary responsibility for overseeing the
               referendum process and knew of Lightbody’s involvement. ¶102.

               In or about April 2013, Maddox on behalf of the Wynn Defendants
               was attempting to purchase a small parcel of real estate occupied
               by a carwash adjacent to the Everett Site that would be necessary
               for access to the casino to be built on the Everett Site, but found
               the owner reluctant to sell. ¶105.

               On April 24, 2013, Maddox emailed FBT’s DeNunzio asking for
               help persuading the owner to sell. Maddox indicated that the
               owner would only deal with Lightbody. DeNunzio agreed and
               within an hour had called Lightbody to enlist his assistance. A
               week later, DeNunzio and Lightbody had separate conversations
               with the owner which were sufficient to induce him to finally
               respond to Maddox’s overtures with a counterproposal. ¶106.

               Maddox and Lightbody met on at least two occasions in the spring
               of 2013 to discuss the fact the owner would not deal with anyone
               but Lightbody. . . Maddox’s statement under oath to the
               Commission in July 2013 that he was unaware of Lightbody was
               false. ¶107.



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All five of these paragraphs allude to or imply that, by April 2013, Mr. Maddox allegedly knew

that a convicted felon had an interest in FBT but failed to disclose that fact. SSR elsewhere

admits, however, that the MGC itself discovered that fact, addressed it fully, and with that

knowledge, approved Wynn MA’s application in September 2014. FAC ¶58, 79 (“the ownership

interest and involvement of these convicted felons was open and notorious in the community” by

late summer of 2012); Id. ¶¶110-111 (“[I]n July 2013, the Wynn Defendants were known to the

Gaming Commission to have associated with known felons and to have failed to disclose those

affiliations . . . [nevertheless] a majority of the commissioners were convinced to go along with

this cure . . .”). Therefore, any failure by Mr. Maddox to disclose this fact—even if alleged with

sufficient particularity—could not have induced the MGC to award the license to Wynn MA.

        (12) Paragraph 108:

               [T]he Wynn Defendants required another adjacent parcel of land
               for the casino which was being occupied by a tenant, ADH
               Collision (“ADH”). ADH, who was running an auto body business
               on the premises, had a lease with the owner of the property
               entitling it to occupy the premises through October 2019 and to
               extend through October 2029. On or about June 8, 2016, the
               owner of the property ultimately accepted an offer for the sale of
               the property pursuant to an agreement that required the property to
               be ‘free and clear of all tenants.’ ADH refused to terminate its
               lease early. Steve Wynn discussed the problem with Mayor
               DeMaria and Maddox. In addition, Christopher Gordon, an
               executive of Wynn, discussed with ADH’s landlord how to
               terminate the lease early.

SSR alleges only that Mr. Maddox “discussed” with Mr. Wynn a commercial tenant’s lease of

property that Wynn MA allegedly was trying to acquire. While another Wynn executive is

alleged to have discussed “how to terminate the lease early,” SSR never alleges that Mr. Maddox

was even involved in those separate discussions, much less in any purported effort to force early

termination of the lease.



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       In sum, even as amended, the FAC does not allege with particularity that Mr. Maddox

committed any predicate acts of racketeering under 18 USC § 1961(1). SSR’s three RICO

claims as asserted against him therefore fail for this deficiency as well.



                                          CONCLUSION

       For all of the foregoing reasons and those set forth by his co-defendants’ motions to

dismiss, defendant Matthew Maddox respectfully asks this Court to dismiss Sterling’s First

Amended Complaint with prejudice.

                                                      Respectfully submitted,

                                                      MATTHEW MADDOX

                                                      By his counsel,

                                                      /s/ Peter A. Biagetti
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Dated: March 8, 2019




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                          LOCAL RULE 7.1(A)(2) CERTIFICATION


         I certify that counsel for Defendant has conferred with counsel for Plaintiff in a good
faith attempt to resolve or narrow the issues raised by this motion.


                                                      /s/ Peter A. Biagetti
                                                      Peter A. Biagetti




                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing on
March 8, 2019.

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                                                      /s/ Peter A. Biagetti
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